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'AO 93 (Rev. 12/09) Search and Seizure Warrant



                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                                 District of Massachusetts

                    In the Matter of the Search of                                    )
               (Briefly describe the property to be searched                          )
                or identify the person by name and address)                           ) Case No.
                                                                                      )
            J.tsarnaev@yahoo.com and
   Tamerlan_tsarnaev@yahoo.com, as Described in                                       )
                   Attachment A                                                       )

                                                 SEARCH AND SEIZURE WARRANT
To:        Any authorized law enforcement officer

         An {tpplication by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the         Northern           District of           California
(identify the person or describe the property to be searched and give its location):
 J.tsarnaev@yahoo.com and Tamerlan_tsarnaev@yahoo.com


           The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):                      .
 evidence of violations of 18 U.S.C. Sections 2332a(a)(2){d), 844(i), 1951, 924(c} and 371,


        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

           YOU ARE COMMANDED to execute this warrant on or before                                                             May 1, 2013
                                                                                                                          (not to exceed 14 days)
      !if in the daytime 6:00 a.m. to 10 p.m.                       0 at any time in the day or night as I find reasonable cause has been
                                                                      established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
Marianne B. Bowler
                                   (name)

      0 I find that immediate notification may have an adverse result listed in 18 Y\S~'§.~i[O~
of trial), and authorize the officer executing this warrant to delay notice to the .({~~~;:)i~~~@~~                                     sr/ roperty, will be
searched or seized (check the appropriate box) 0 for             days (not to excee '/,~·~:-::,. .i,v.\\s:'f.:h'fj!).~;~:~"S                 '··
                                                            0 until, the facts justifying, the . ~tyri~pe,~ifjc.'~a~~(?f,~~,.-rrTlr-~~~~

Date and time issued:         ~..,.l..___.\_~-lrl-t-"')..={)_,l._~
                                                               .....L@__._,i:-""'--
                                                                                                   .u! l)'~{: f,~'   \f :y~;·;,,: =~::~':~
                             ~                       \          3'.\~
City and state:        Boston, Massachusetts
                                                                                                             Printed name and title




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                                                                  Return
Case No.:                                 Date and time warrant executed:       Copy ofwarrant and inventmy left with:

Inventory made in the presence of:

Inventory of the property taken and name of any person(s) seized:




                                                                Certification


       I declare under penalty ofperjury that this inventory is correct and was returned along with the original
warrant to the designated judge.



Date: - - - - - - - - - - - - - - - - -
                                                                                     Executing officer's signature



                                                                                        Printed name and title




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                                      ATTACHMENT A

       The premises to be searched and seized are (1) the e-mail accounts identified as

J.tsarnaev@yahoo.com and Tamerlan_tsarnaev@yahoo.com, (2) other user-generated data

stored with those accounts, and (3) associated subscriber, transactional, user connection

information associated with the accounts, as described further in Attachment B. This information

is maintained by Yahoo, Inc., which accepts service of process at:

               Yahoo!, Inc.
               701 First Avenue
               Sunnyvale, CA 94089
               Fax: 408-349-7941




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                                      ATTACHMENT B

I.    Search Procedure

      A.      Within fourteen days of the search WatTant's issue, the warrant will be served on

              Yahoo, Inc. personnel, who will identify the accounts and files to be searched, as

              described in Section II below.

      B.      Yahoo, Inc. will then create an exact electronic duplicate of these accounts and files

              ("the account duplicate").

      C.      Yahoo, Inc. will provide the account duplicate to law enforcement personnel.

      D.      Law enforcement personnel will then search the account duplicate for the records

              and data to be seized, which are described in Section III below.

      E.      Law enforcement personnel may review the account duplicate, even if Yahoo, Inc.

              produces it more than 14 days after the wan-ant issues, subject to the following

              limitations. If Yahoo, Inc. provided data that was created after fourteen days from

              the wan·ant's issue ("late-created data 11 ), law enforcement personnel may view all

              late-created data that was created by Yahoo, Inc., including subscriber, IP address,

              logging, and other transactional data, without a further order ofthe Court.     Law

              enforcement personnel will seek to avoid reviewing any late-created data that was

              created by or received by the account-holder(s), such as e-mail, absent a

              follow-up warrant.

II.   Accounts and Files to Be Copied by Yahoo, Inc. Personnel

      A.      All data files associated with J.tsarnaev@yahoo.com and

              Tamerlan_tsarnaev@yahoo.com, including:

              1.     The contents of all e-mail, whether draft, deleted, sent, or received;




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              2.     The contents of all text or instant messages;

              3.     The contents of all electronic data files, whether word-processing,

                     spreadsheet, image, video, or any other content;

              4.     The contents of all calendar data;

              5.     Lists of friends, buddies, contacts, or other subscribers;

              6.     Records pertaining to communications between Yahoo, Inc. and any person

                     regarding these accounts and any e-mail accounts associated with those

                     addresses, including, without limitation, contacts with support services and

                     records of actions taken.

      B.      All subscriber and transactional records for the J.tsarnaev@yahoo.com and

              Tamerlan_tsamaev@yahoo.com e-mail accounts and any associated e-mail

              accounts, including:

              1.     Subscriber information for these and any associated e-mail accounts:

                     a.     Name(s) and account identifiers;

                     b.      Address(es);

                     c.     Records of session times and durations;

                     d.     Length of service (including start date) and types of service utilized;

                     e.      Telephone instrument number of other subscriber number or

                             identity, including any temporary assigned network address;

                     f.     The means and source of payment for such service (including any

                             credit card or bank account number); and

                     g.     The Internet Protocol address used by the subscriber to register the

                            account or otherwise initiate service.




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              2.     User connection logs for any connections to or from these and any

                     associated e-mail accounts, including:

                     a.      Connection time and date;

                     b.      Disconnect time and date;

                     c.      The IP address that was used when the user connected to the service;

                     d.      Source and destination of any e-mail messages sent from or received

                             by the account, and the date, time, and length of the message; and

                     e.      Any address to which e-mail was or is to be forwarded from the

                             account or e-mail address.

III.   Records and Data to be Searched and Seized by Law Enforcement Personnel

       A.     Evidence, fmits, or instrumentalities of violations of 18 U.S.C. Sections

              2332a(a)(2)(d), 844(i), 1951, 924(c) and 371, including records relating to:

              1.     All communications between or among Tamerian Tsarnaev and Dzhokhar

                     Tsarnaev

              2.     All communications pertaining to the Boston Marathon, explosives, bombs,

                     the making of improvised explosive devices, firearms, and potential people

                     and places against which to use fireatms, explosives or other destructive

                     devices.;

             3.      The identity of the person or persons who have owned or operated the

                     J.tsarnaev@yahoo.com and Tamerlan~tsarnaev@yahoo.com e-mail

                     accounts or any associated e-mail accounts;

             4.      The data described in paragraphs II(A)(3)-(5), above;

             6.      The existence and identity of any co-conspirators;




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             7.     The travel or whereabouts ofthe person or persons who have owned or

                    operated the J.tsarnaev@yahoo.com and Tamerlan_tsarnaev@yahoo.com

                    e-mail accounts or any associated e-mail accounts;

             8.     The identity, location, and ownership of any computers used to access these

                    e-mail accounts;

             9.      Other e-mail or Internet accounts providing Internet access or remote data

                     storage or e-commerce accounts;

             10.     The existence or location of physical media storing electronic data, such as

                     hard drives, CD- or DVD-ROMs, or thumb drives; and

             11.     The existence or location of paper print-outs of any data from any of the

                     above.

      B.     All of the subscriber, transactional, and logging records described in Section II(B).




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